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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 17-CR-80242-ROSENBERG

  UNITED STATES OF AMERICA

  vs.

  ALEJANDRO ANDRADE CEDENO,

                   Defendant.
                                               /

  IN RE:

  PAUL TRACY INC, AND
  PALM BEACH EQUINE CLINIC LLC,


                   Third-Party Petitioners.
                                                   /

    MOTION TO APPROVE AND ENTER STIPULATION AND SETTLEMENT AGREEMENT
           BETWEEN UNITED STATES OF AMERICA AND PAUL TRACY INC,
                    AND PALM BEACH EQUINE CLINIC LLC

           Pursuant to 21 U.S.C. § 853(n), the United States of America (the “United States”) files this motion

  requesting that the Court approve and enter the Stipulation and Settlement Agreements (“Agreements”)

  between the United States and third-party petitioners Paul Tracy Inc. and Palm Beach Equine Clinic LLC

  (collectively, the “Petitioners”), which are attached as Exhibits A and B. In support of this motion, the

  United States submits:

           1.      On November 6, 2018, the Court entered a Preliminary Order of Forfeiture (DE 30).        As

  part of the Preliminary Order of Forfeiture, the Court entered a forfeiture money judgment in the amount

  of $1 billion in U.S. currency against defendant Alejandro Andrade Cedeno (DE 30:8). Pursuant to 18

  U.S.C. § 982(a)(1), seventeen horses, among other assets, were forfeited and vested in the United States in

  partial satisfaction of such forfeiture money judgment (DE 30:8-10).

           2.      On November 20, 2018, the Court approved the interlocutory sale of the horses and an

  auction was held in February 2019 (DE 44) for the sale of 14 of the horses. The net proceeds from the sale
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  totaled approximately $1.7 million.

          3.      According to Petitioner Paul Tracy Inc, Paul Tracy Inc performed farrier services on the

  14 horses prior to their seizure and sale, which totaled $10,265. According to Petitioner Palm Beach

  Equine Clinic LLC, Palm Beach Equine Clinic LLC provided veterinary and other services on the horses

  prior to their seizure and sale, which totaled approximately $84,982.19.

          4.      The United States and Petitioners have entered into the attached Agreements, which resolve

  each Petitioner’s interest in the above-captioned matter. See Exhibits A and B. These Agreements are

  subject to the Court’s approval.

          5.      Accordingly, the United States now files this motion respectfully requesting that the Court

  enter the attached order approving the Agreements filed in record, and retain jurisdiction over this matter

  and the parties to enter such further orders as may be necessary for the disposal of forfeited assets.



                                                    Respectfully Submitted,


                                                    ARIANA FAJARDO ORSHAN
                                                    UNITED STATES ATTORNEY


                                                    /s/ William T. Zloch
                                            By:     WILLIAM T. ZLOCH (Florida Bar No. 0105619)
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                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 6, 2019, I electronically filed the foregoing with the Clerk of

  the Court using CM/ECF.

                                                    /s/ William T. Zloch
                                                    William T. Zloch
                                                    Assistant U.S. Attorney



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